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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA



 THE STATE OF OKLAHOMA et al.,

                  Plaintiffs,                        No. 5:21-cv-1069-G
     v.

 JOSEPH R. BIDEN et al.,

                  Defendants.



                   NOTICE OF SUPPLEMENTAL AUTHORITIES

       Defendants hereby notify this Court of two recent decisions of relevance to this suit

or authorities relied upon in the briefing presently before this Court. The first is a decision

issued by the United States Court of Appeals for the Sixth Circuit in In re: MCP No. 165,

Occupational Safety and Health Administration, Interim Final Rule: COVID-19 Vaccination and Testing,
No. 21-4027, --- F.4th ---, 2021 WL 5989357 (6th Cir. Dec. 17, 2021). See Ex. A. That opinion

dissolved the stay issued by the United States Court of Appeals for the Fifth Circuit in BST

Holdings, LLC v. Occupational Safety & Health Admin., No. 21-60845, 2021 WL 5166656 (5th
Cir. Nov. 6, 2021) (staying an Emergency Temporary Standard issued by the Occupational

Safety & Health Administration). Id. at *19. The second is a decision issued by the United

States District Court for the Eastern District of Washington in Donovan v. Vance, No., 4:21-
CV-5148-TOR, 2021, --- F. Supp. 3d ---, WL 5979250 (E.D. Wash. Dec. 17, 2021). See Ex. B.

That opinion denied a motion for a preliminary injunction that included a challenge to the

President’s statutory authority to issue Executive Order 14042. Id. at *2, 8.
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DATED: December 20, 2021          Respectfully submitted,

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                              CERTIFICATE OF SERVICE
       On December 20, 2021, I electronically submitted this document to the clerk of court

of the U.S. District Court for the Western District of Oklahoma using the court’s electronic

case filing system. I certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).


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